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                    IN THE UNITED STATES DISTRICT COURT FOR THE
                           NORTHERN DISTRICT OF ILLINOIS

Richard Serrano (B77778),                     )
                                              )
               Plaintiff,                     )               Case No. 18 C 50155
                                              )
               v.                             )
                                              )               Judge Frederick J. Kapala
Jason Hermeyer, et al.,                       )
                                              )
               Defendants.                    )

                                             ORDER

        By order dated July 6, 2018, the Court denied Plaintiff’s application for leave to proceed in
forma pauperis and ordered Plaintiff to pay the Court’s $400 filing fee [9]. The Court warned
Plaintiff that failure to pay the filing fee by August 6, 2018, would result in summary dismissal of
this case. Plaintiff did not respond to the Court’s order. Accordingly, this case is dismissed
without prejudice for Plaintiff’s failure to comply with the Court’s order of July 6, 2018. The
Court directs the Clerk of Court to terminate all pending motions as moot. Case closed.



Date: August 17, 2018
